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                   EXHIBIT 5
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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

AMERICAN ASSOCIATION OF UNIVERSITY
PROFESSORS, ET AL.,

                            Plaintiffs,                       Case No. 1:25-cv-10685 (WGY)

            v.

MARCO RUBIO, ET AL.

                            Defendants.


                            PLAINTIFFS’ FIRST SET OF
                    INTERROGATORIES DIRECTED AT DEFENDANTS

           PLEASE TAKE NOTICE that, pursuant to Rule 33 of the Federal Rules of Civil Procedure

and Local Civil Rules for the District of Massachusetts 26.1 and 33.1, Plaintiffs American

Association of University Professors, American Association of University Professors-Harvard

Faculty Chapter, American Association of University Professors at New York University, Rutgers

American Association of University Professors-American Federation of Teachers, and Middle

East Studies Association (“Plaintiffs”), by and through their undersigned counsel hereby request

that Defendants Marco Rubio, Kristi Noem, Todd Lyons, and Donald J. Trump (“Defendants”)

answer the following interrogatories (the “Interrogatories” and each individually an

“Interrogatory”) under oath and serve the answers within fourteen (14) days of service of this

request.

                                          INSTRUCTIONS

   1. The instructions provided in Local Rule 33.1 are incorporated by reference.

   2. Whenever an Interrogatory asks for the identity of an individual, please set forth the

following information:




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   a. The individual’s name;

   b. The individual’s title or occupation;

   c. The individual’s present or last known residential address; and

   d. The individual’s present or last known business address.

   3. In answering these Interrogatories, Defendants are required to furnish all information

known or available to them, regardless of whether this information is possessed by Defendants or

by their agents, employees, representatives, investigators, or by their attorneys or other persons

who have acted on their behalf, or by any corporation, partnership, or other legal entity.

   4. If any of these Interrogatories cannot be answered in full, after exercising due diligence to

secure the information to do so, answer to the extent possible, specifying the reasons for

Defendants’ inability to answer the remainder and stating whatever information, knowledge, or

belief Defendants have concerning the unanswered portion. In addition, specify the person or

persons Defendants have reason to believe may have the information and/or knowledge to answer

such interrogatory or any part thereof.

   5. The Interrogatories are continuing in nature. If, after answering these interrogatories,

Defendants obtain or become aware of further information responsive to these Interrogatories,

Defendants are required to provide a supplemental interrogatory answer.

   6. State whether the information furnished is within the personal knowledge of Defendants

and, if not, the name of each person to whom the information is a matter of personal knowledge.

   7. If Defendants believe that an Interrogatory seeks privileged information, state the grounds

for the privilege assertion in sufficient detail to enable Plaintiffs to challenge your claim.




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    8. If Defendants object to any portion of any Interrogatory herein, identify the portion of the

Interrogatory to which Defendants object and respond to the remainder of the Interrogatory.

                                           DEFINITIONS

    1. The definitions provided in Federal Rule of Civil Procedure Rule 34(a) and Local Rule

26.5(c) are incorporated by reference.

    2. “Adverse action” means investigating, monitoring, surveilling, revoking the visa or lawful

permanent residency of, terminating the status of, determining the removability of, or seizing,

arresting, detaining, removing, or transferring to a detention facility in Louisiana.

    3. “And” and “or” shall be construed in the conjunctive or disjunctive as necessary to bring

within the scope of the Request all responses that might otherwise be construed as outside its scope.

    4. “Any” shall be construed to include the word “all” and “all” shall be construed to include

the word “any.”

    5. “Communication”, as defined in Local Rule 26.5(c), means the transmittal of information

(in the form of facts, ideas, inquiries, or otherwise).

    6. “Covered Institution” means the following colleges and universities: Arizona State

University, Columbia University, Cornell University, Georgetown University, Harvard

University, Minnesota State University System, Tufts University, University of California System,

University of Massachusetts System, and University of Texas System

    7. The term “document” and “documents” mean any and all items referred to as “documents”

in Federal Rule of Civil Procedure 34 and as “writings” and “recordings” in Federal Rule of

Evidence 1001. By way of example and without limitation, the terms “document” and

“documents” include the original, all drafts, and all non-identical copies, regardless of origin or

location, of the following: notes, correspondence (including by letter, by e-mail, or by SMS text




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message, or by iMessage), internal communications, e-mail, ledger books, log books, statements,

memoranda, policies, procedures, directives, instructions, guidance, summaries of records of

conversations, reports, video tapes, audio tapes, minutes or records of meetings, summaries of

interviews or investigations, maps, and photographs. The term “document” shall include data

stored and organized electronically.

   8. “Identify,” when referring to a person, means to give the names, titles, organizational roles,

and job descriptions of all U.S. Government officials, officers, agents, employees or contractors.

   9. “Including” shall be construed to include the phrase “without limitation.”

   10. The term “Targeted Noncitizen Students or Faculty Members” means the following

individuals:

       a. Mahmoud Khalil;

       b. Mohsen Mahdawi;

       c. Rümeysa Öztürk;

       d. Yunseo Chung;

       e. Efe Ercelik;

       f. Mohammed Hoque;

       g. Ranjani Srinivasan;

       h. Badar Khan Suri; and

       i. Momodou Taal.

  11. The terms “you” and “your” refer to each of the defendants individually responding to

these requests.




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                                       INTERROGATORIES

    1. Identify the persons who are or were involved in proposing or taking adverse action against

any of the Targeted Noncitizen Students or Faculty Members, including everyone from the most

senior agency officials (e.g., Secretary Rubio and Secretary Noem) down the chain to the most

junior agency officials, officers, employees, agents, contractors, or consultants.

    2. Identify the persons who are or were involved in the inspection, review, monitoring, or

surveillance of the Targeted Noncitizen Students or Faculty Members’ social media accounts or

activity.

    3. Identify the persons who are or were involved in taking adverse action against any non-

citizen student or faculty member at a Covered Institution based in whole or in part on speech or

activities deemed or suspected to be pro-Palestinian, anti-Semitic, anti-Zionist, pro-terrorist, pro-

Hamas, pro-Jihadist, or anti-Israel.

    4. Identify the persons who are or were involved in communications between you and any

Covered Institution concerning non-citizen students or faculty members believed or suspected to

have engaged in speech or activities deemed or suspected to be pro-Palestinian, anti-Semitic, anti-

Zionist, pro-terrorist, pro-Hamas, pro-Jihadist, or anti-Israel, including the persons at the

Department of Homeland Security who communicated with Columbia University, as referenced

by White House Press Secretary Karoline Leavitt in her press briefing on March 11, 2025.

    5. Identify the persons who are or were involved in the identification of non-citizen students

or faculty members at Covered Institutions who were targeted for any adverse action based in

whole or in part on speech or activities deemed or suspected to be pro-Palestinian, anti-Semitic,

anti-Zionist, pro-terrorist, pro-Hamas, pro-Jihadist, or anti-Israel, including the persons who were

involved in creating, compiling and sharing the list of students provided by the Department of




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Homeland Security to Columbia University, as referenced by White House Press Secretary

Karoline Leavitt in her press briefing on March 11, 2025.

   6. State the basis of or for your claim, assertion, allegation, or contention that your taking

adverse action against any of the Targeted Noncitizen Students or Faculty Members was lawful.

   7. State the basis of or for your claim, assertion, allegation, or contention that any of the

Targeted Noncitizen Students or Faculty Members engaged in pro-Palestinian, anti-Semitic, anti-

Zionist, pro-terrorist, pro-Hamas, pro-Jihadist, or anti-Israel speech or activities.

   8. State the basis of the State Department’s decision to revoke the visas of any of the Targeted

Noncitizen Students or Faculty Members under 8 U.S.C. § 1201(i).

   9. State the basis of Secretary of State Rubio’s determination that any of the Targeted

Noncitizen Students or Faculty Members is removable under 8 U.S.C. § 1227(a)(4)(C).

   10. Identify all documents you created, consulted, referenced, or relied on in determining

whether to take adverse action against any of the Targeted Noncitizen Students or Faculty

Members.

   11. State the basis of the State Department’s decision to make “silent” the revocation of any of

the Targeted Noncitizen Students’ or Faculty Members’ visas or green cards, i.e., not to notify the

Targeted Noncitizen Student or Faculty Member of the revocation..

   12. Describe in detail the reasons why the agents who arrested Rümeysa Öztürk and Badar

Khan Suri were wearing civilian clothes, hoods, and masks, without their official badges visible.

   13. Describe in detail your transfer of Mahmoud Khalil and Rümeysa Öztürk from the location

of their arrest to a detention facility in Louisiana, including your decision to transfer them and your

reasons for transferring them.




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   14. Describe in detail your decision to and reasons for arresting Mohsen Mahdawi at the time

and location of his U.S. Citizenship and Immigration Services interview in Colchester, Vermont

on April 14, 2025.

Dated:        May19, 2025
              New York, NY

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